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Exhibit 88
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From:
Sent: Thursday, July 20, 2017 10:29 AM
To: Sarubbe, Kevin; Buda, Robert
Cc:                         ;               ; Guillaume, Greg
Subject: RE:

Kevin/Rob,

Questions on this flight:
   -    The intent was to use         as a standby aircraft when it was maintenance green. If
       does not have a scheduled destination immediately, the GCC says they cannot hold the
       crew? Why, if we communicate the intent is to hold the crew as a standby while a plan is
       formulated?
   -    How did we know, ahead of time, that these pilots would call fatigue? It appears they were
       approximately three hours into a duty day?
   -    I am genuinely concerned about the rate at which Atlas pilots call fatigue compared to all other
                air carriers. On a flight-normalized basis, Atlas’s rate of fatigue calls is more than four
       times higher than other carriers, combined. Is this something that warrants a safety audit to
       determine root cause?

Thanks,


From: Gordon, Darrell [mailto:Darrell.Gordon@AtlasAir.com]
Sent: Thursday, July 20, 2017 3:20 AM
To:                                             Howe, Martin-DePorus
<Martin.Howe@AtlasAir.com>;                                              *HDQ Ops Controllers
<hdqopscont@AtlasAir.com>;
Cc: Sarubbe, Kevin <Kevin.Sarubbe@AtlasAir.com>; Buda, Robert <Robert.Buda@AtlasAir.com>
Subject: RE:

Good day        ,
The crew in                has just called fatigue. We are releasing them to rest at this time


Thanks
Darrell
Atlas Air Ops Control



From: Gordon, Darrell
Sent: Thursday, July 20, 2017 5:31 AM
To:                            ; Howe, Martin-DePorus;                                  ; *HDQ Ops
Controllers;
Cc: Sarubbe, Kevin; Buda, Robert
Subject: RE:
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               ,
I just called your number and got voicemail - We are just a few moments away from releasing this crew
in       to rest, unless we hear from you regarding a game plan. The crew is running out of duty time


Please advise within 10mins

Thanks
Darrell

From: Gordon, Darrell
Sent: Thursday, July 20, 2017 5:05 AM
To:                            ; Howe, Martin-DePorus;                               ; *HDQ Ops
Controllers;
Cc: Sarubbe, Kevin; Buda, Robert
Subject: RE:

Hello              ,
Please advise if you want        to depart     and operate as scheduled                       keep in
mind this crew has been on duty since 0500z, we are very close to them calling fatigue.

Do you plan to keep this aircraft in   in position for              ?


Please treat this as urgent

Thanks
Darrell


From: Gordon, Darrell
Sent: Thursday, July 20, 2017 4:34 AM
To:                            ; Howe, Martin-DePorus;                               ; *HDQ Ops
Controllers
Cc: Sarubbe, Kevin; Buda, Robert
Subject: RE:

Hi        ,
The aircraft is now MX ready, we will need something more concrete for an aircraft plan. We cannot
hold the aircraft and crew as spare with no end in sight.

We will need a decision very soon on when you would need us to depart        , keep in mind there is a
scheduled crew change in


Thanks
Darrell
Sr Manager Ops Control
Atlas Air
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From:
Sent: Thursday, July 20, 2017 4:18 AM
To: Howe, Martin-DePorus;                               ; *HDQ Ops Controllers
Subject: RE:

Hi Martin,

When         is returned to green status, please maintain the crew and aircraft readiness as a spare in
case needed.

Thank you,




From: Howe, Martin-DePorus [mailto:Martin.Howe@AtlasAir.com]
Sent: Thursday, July 20, 2017 4:11 AM
To:                                         >; *HDQ Ops Controllers <hdqopscont@AtlasAir.com>
Subject: RE:

Hi        ,

Do we have a plan for what we are going to do with the a/c?

Thanks,

Martin

From: Howe, Martin-DePorus
Sent: Thursday, July 20, 2017 3:18 AM
To:                            ; *HDQ Ops Controllers
Subject: RE:

Hi        ,

Maintenance has advised they sourced the part with UPS. It should be over to the a/c in about 15
minutes, with an additional two hours to install.
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Best Regards,

Martin

From: Howe, Martin-DePorus
Sent: Thursday, July 20, 2017 3:01 AM
To:                            ; *HDQ Ops Controllers
Subject: RE:

Good morning           ,

A bit of follow-up to our conversation.           had a flap/slat disagree on departure. Maintenance has
found the left flap position transmitter faulting. AOG is now trying to source a position transmitter. Parts
+ 2 hours.

Next update 0800z

Best Regards,

Martin

From:
Sent: Thursday, July 20, 2017 2:45 AM
To: *HDQ Ops Controllers
Subject:

Good morning,

I just got word from the gateway that the aircraft is on mechanical. They are 14 minutes past departure
time. Can you please advise the situation?

Thank you,
